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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


AMERICAN OVERSIGHT,

              Plaintiff,

        v.                                         Civil Action No. 25-383 (TJK)

U.S. DEPARTMENT OF JUSTICE,

              Defendant.


                                           ORDER

       For the reasons set forth in the Court’s accompanying Memorandum Opinion, it is hereby

ORDERED that Defendant’s Motion to Dismiss, or, Alternatively, for Summary Judgment, ECF

No. 12, is construed as a motion for summary judgment and is GRANTED. Judgment is EN-

TERED for Defendant. This is a final, appealable order. The Clerk of Court is directed to close

the case.

       SO ORDERED.

                                                          /s/ Timothy J. Kelly
                                                          TIMOTHY J. KELLY
                                                          United States District Judge
Date: April 22, 2025
